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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 UNITED STATES OF AMERICA                                 §
                                                          §   CASE NO. 4:23-CR-218-2
 vs.                                                      §
                                                          §
 (2) DHIRENKUMAR VISHNUBHAI PATEL,                        §
                                                          §
                        Defendant.                        §

                JOINT MOTION TO CONTINUE SENTENCING HEARING
                         AND ALL RELATED DEADLINES

         The United States of America and Defendant Dhirenkumar Vishnubhai Patel, through

counsel, hereby jointly move the Court to continue the sentencing hearing of Mr. Patel and all

related deadlines by sixty (60) days, and in support state:

         On December 18, 2023, Mr. Patel entered a guilty plea to Count One of the Superseding

Information, Conspiracy to Commit Mail Fraud in violation of 18 U.S.C. § 371. He is set for

sentencing on April 1, 2024. The Initial Presentence Investigation Report was due on February

23, 2024. Docket Entry No. 53 (PSI Order).

         As set forth in his Plea Agreement, Mr. Patel has agreed that certain assets seized by

Homeland Security Investigations (HSI) at or around the time of his arrest will be returned to him

through his attorney in this criminal case, liquidated as necessary, and turned over to the court

clerk in anticipation of victim restitution. The parties are working expeditiously to complete this

process with the agency, but the assets have not yet been returned to Mr. Patel through his attorney.

         Additionally, this case involves a significant amount of discovery and material received

regarding several victims. To ensure adequate time for preparation of the Initial Presentence

Investigation Report, the parties propose that all dates in Mr. Patel’s PSI Order be continued for

sixty (60) days.
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                                            Respectfully Submitted,

                                            ALAMDAR S. HAMDANI
                                            United States Attorney
                                            Southern District of Texas

                                            By:    /s/ Stephanie Bauman
                                                   Stephanie Bauman
                                                   Assistant United States Attorney

AGREED:

/s/ Sara Richey (by permission)
Sara Richey
Attorney for Dhirenkumar Vishnubhai Patel




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